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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN

MICHAEL L. SWAN,             §
                             §
    Plaintiff                §
                             §                   Case No. 1:17-cv-180
-v-                          §
                             §                   Hon.
CONVERGENT OUTSOURCING, INC. §
                             §
    Defendant.               §

                                      COMPLAINT

  I. INTRODUCTION

   1. Plaintiff Michael L. Swan (“Plaintiff”) brings this action to secure redress from
      unlawful collection practices engaged in by Defendant Convergent Outsourcing, Inc.
      (“Defendant”). Plaintiff alleges violation of the Fair Debt Collection Practices Act 15
      U.S.C. §1692 et seq. and the Michigan Occupational Code M.C.L. §339.901 et. seq.
      (“MOC”).

  II. VENUE AND JURISDICTION

   2. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §1331
      and 15 U.S.C. §1692k(d), which states that such actions may be brought and heard
      before “any appropriate United States District Court without regard to the amount in
      controversy,” 47 U.S.C. §227(b)(3) and 28 U.S.C. §1331.

   3. Venue is proper pursuant to 28 U.S.C. §1319(b)(2) as the acts giving rise to Plaintiff’s
      cause of action occurred in this district, Plaintiff resides in this district, and the
      Defendant transacts and conducts business in this district.

  III. PARTIES

   4. Plaintiff is a natural person residing in Montcalm County, Michigan. Plaintiff is a
      “consumer” and “person” as the terms are defined and used in the FDCPA.

   5. Defendant Convergent Outsourcing Inc. (“Convergent”) is a corporation with offices at
      800 SW 39th St., Renton WA, 98057. It Conducts and/or transacts business in the State
      of Michigan through its registered agent, The Corporation Company, 40600 Ann Arbor
      Rd. E. Ste. 201, Plymouth MI, 48170.
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 6. Defendant uses interstate commerce and the mails in a business the principal purpose of
    which is the collection of debts. Defendant regularly attempts to collect, directly or
    indirectly, debts owed or due or asserted to be owed or due another.

 7. Defendant is a “debt collector” as the term is defined and used in the FDCPA.
    Defendant is licensed (No. 2401001661) by the State of Michigan to collect consumer
    debts in Michigan.

IV. FACTUAL ALLEGATIONS

 8. Plaintiff incurred a financial obligation that was primarily for personal, family or
    household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. §
    1692a(5), namely, a telecommunications bill with Verizon Wireless in the amount of
    $667.60.

 9. The Debt went into default and was charged off by the original creditor in 2011.

 10. The last payment on the debt was made more than two years prior to the date of the
     letter.

 11. Sometime thereafter, the alleged debt was consigned, placed or otherwise transferred to
     Defendant for collection from the Plaintiff.

 12. On or about June 7, 2016, Defendant sent Plaintiff a collection letter that stated there
     was a balance due of $667.60. (Exhibit 1)

 13. Exhibit 1 invites Plaintiff to pay 35% of his current balance as a settlement of the debt.

 14. Exhibit 1 does not disclose that a partial payment on a time barred debt revives the
     statute of limitations clock under Michigan Law. See Yeiter v. Knights of St. Casimir
     Aid Soc’y, 461 Mich. 493, 607 N.W.2d 68, 71 (2000).

 15. Exhibit 1 does not disclose the last date that a payment was made on the debt.


                               Count I: Violation of 15 USC § 1692e

 16. The federal statute of limitations applicable to carriers on cellular telephone charges is
     two years. 47 U.S.C. §415(a).

 17. The Federal Trade Commission has determined that “Most consumers do not know
     their legal rights with respect to the collection of old debts past the statute of limitations
     … When a collector tells a consumer that she owes money and demands payment, it
     may create a misleading impression that the collector can sue the consumer in court to
     collect that debt.” (http://www.ftc.gov/opa/2012/01/asset.shtm) The FTC entered into a
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    consent decree with Asset Acceptance, one of the largest debt buyers in the United
    States, requiring that it disclose to consumers when it is attempting to collect debts that
    are barred by the statute of limitations. United States v. Asset Acceptance LLC, Case
    No. 8 : 12 CV 182 T 27 EAJ (M.D.Fla.).

 18. The Consumer Financial Protection Bureau has asked for input on potential rulemaking
     regarding time-barred debt. Debt Collection (Regulation F), 78 Fed.Reg. 67,848,
     67,875-76 (advance notice of proposed rulemaking given Nov. 12, 2013). According to
     the CFPB, “[c]onsumers, in some circumstances, may infer from a collection attempt
     the mistaken impression that a debt is enforceable in court even in the absence of an
     express or implied threat of litigation.” Id. At 67,785.

 19. The 6th Circuit has held that it is plausible that a settlement offer falsely implies that the
     underlying debt is enforceable in court. Buchanan v. Northland Group, Inc., 776 F.3d
     393 (6th Cir., 2015).

 20. Defendant engaged in unfair, false, and deceptive acts and practices in violation of 15
     U.S.C. §§ 1692e(2), 1692e(5), and 1692e(10), by dunning consumers on time-barred
     debts without disclosing that the consumers were under no legal obligation to make
     payment.

 21. Defendant engaged in misleading, unfair, false, and deceptive acts and practices in
     violation of 15 U.S.C. §§ 1692e(2), 1692e(5), and 1692e(10), by inviting consumers to
     pay less than the full balance owed on their account without disclosing that paying less
     than the settlement amount requested could restart the statute of limitations clock under
     Michigan law.

                              Count II: Violation of 15 USC § 1692g

 22. Pursuant to 15 USC § 1692g A debt collector is required to provide a consumer with a
     notice of their right to request validation of a debt either in the initial communication
     with the consumer, or within five days thereof.

 23. Section 1692g(a) provides that the initial communication sent to a consumer must
     contain:  (1) the amount of the debt, (2) the creditor's name, (3) a statement that unless
     the consumer disputes the validity of the debt within thirty days of receipt of the notice,
     the debt collector will assume the debt to be valid, (4) a statement that if the consumer
     does dispute the debt in writing within thirty days, the debt collector will obtain
     verification of the debt or a copy of the judgment, and (5) a statement that, upon the
     consumer's written request, the debt collector will provide the consumer with the name
     and address of the original creditor, if different from that of the current creditor.

 24. The notice must be provided in a manner that effectively communicates its contents to
     the least sophisticated consumer See Smith v Computer Credit, Inc., 167 F.3d 1052 (6th
     Cir. 1999).
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 25. The Sixth Circuit has adopted the “least sophisticated debtor” standard to determine
     whether a communication “effectively conveys” notice of the thirty-day validation
     period for purposes of § 1692g. Id.

 26. On the front of the letter Defendant states that in order to take advantage of the
     settlement offer, Plaintiff must respond to them within forty-five days.

 27. The front side of the letter does not contain the required notices, instead there is a vague
     statement “Notice: Please see reverse side for important consumer information.”

 28. Placing the required notices on the back of a dunning letter may comply with § 1692g
     if there is a conspicuous reference on the front, and other language on the letter does
     not further obscure the notice. See Sims v. GC Servs. L.P., 445 F.3d 959 (7th Cir. 2006).

 29. The back of the page does include the required notices, but there is a second page of the
     letter that purports to be a “Privacy Notice.”

 30. The least sophisticated consumer would not effectively understand his verification
     rights for the following reasons:

          a. The 45 day notice on the front of the letter may convey to the least
             sophisticated consumer that he has 45 days to contact the Defendant, and
             obscure the 30 day notice on the back of the letter;

          b. The statement on the first page that that reverse side contains important
             consumer information obscures the consumer’s rights and is not conspicuous;

          c. The placement of the privacy notice immediately after the first page could
             lead the least sophisticated consumer to believe that it is the important
             consumer information referred to on the first page instead of the notice of the
             consumer’s validation rights.

 31. Defendant’s letter does not adequately provide Plaintiff with notification of his
     verification rights and is a violation of 15 U.S.C. § 1692g.


                         Count III: Violations of MCL §339.901 et. seq.

 32. Pursuant to MCL § 339.915 a licensee is prohibited from committing several acts
     including but not limited to:

          a. Communicating with a debtor in a misleading or deceptive manner (MCL §
             339.915(a));
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              b. Misrepresenting the legal rights of the creditor or debtor (MCL §
                 339.915(f)(i)); and

              c. Failing to implement a procedure designed to prevent a violation by an
                 employee (MCL § 339.915(q)).

     33. Defendant’s communications were misleading because they failed to inform Plaintiff
         that he was under no legal obligation to make payment.

     34. Defendant’s use of “settlement” language in the communication misrepresented that
         they retained the legal right to enforce the debt in a court of law.

     35. Defendant’s multiple violations of the MOC substantiate that Defendant failed to
         implement a procedure designed to prevent a violation by an employee.


                                          Summary

     36. The foregoing acts and omissions of Defendant and its agents constitute numerous
         violations of the FDCPA and the MOC including, but not limited to, each and every
         one of the above-cited provisions of the FDCPA and the MOC with respect to Plaintiff.

     37. As an actual and proximate result of the acts and omissions of defendant and its
         employees, Plaintiff has suffered actual damages and injury for which he should be
         compensated in an amount to be established by jury and at trial, including but not
         limited to generalized feelings depression and anxiety resulting in feelings of
         worthlessness, guilt, fear, embarrassment, anxiety, stress, hopelessness and suffering.

   V. TRIAL BY JURY

     38. Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.
         amend. 7. Fed. R. Civ. Pro. 38.

   VI. PRAYER FOR RELIEF

Count I – Fair Debt Collection Practices Act

     39. Defendant has violated the FDCPA. Defendant’s violations of the FDCPA include but
         are not limited to the following:

              a. Defendant violated 15 U.S.C. §1692e;

              b. Defendant violated 15 U.S.C. § 1692g.

      Wherefore, Plaintiff seeks judgment against defendant for:
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         a) Actual damages pursuant to 15 U.S.C. §1692k(a)(1);

         b) Statutory damages pursuant to 15 U.S.C. §1692l(a)(2)(A);

         c) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k(a)(3); and

         d) Such further relief as the court deems just and equitable.

Count II -- Michigan Occupational Code

    40. Defendant has violated the MOC. Defendant’s violations of the MOC include, but are
        not limited to the following:

             a. Communicating with a debtor in a misleading or deceptive manner (MCL §
                339.915(a));

             b. Misrepresenting the legal rights of the creditor or debtor (MCL §
                339.915(f)(i));

             c. Failing to implement a procedure designed to prevent a violation by an
                employee (MCL § 339.915(q)).

      Wherefore, Plaintiff seeks judgment against defendant for:

             a) Actual damages pursuant to M.C.L. §339.916(2);

             b) Treble the actual damages pursuant to M.C.L. §339.916(2);

             c) Statutory damages pursuant to M.C.L. §339.916(2);

             d) Reasonable attorney’s fees and costs pursuant to M.C.L. §339.916(2); and

             e) Equitable relief pursuant to M.C.L. §339.916(2).

         Dated: February 23, 2017                 Respectfully submitted:

                                                  __/s/____________________________
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